Summary - MyCase                                      https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2...
             Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 1 of 16 PageID #: 8




1 of 3                                                                                                 9/18/2020, 12:05 PM
Summary - MyCase                                      https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2...
             Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 2 of 16 PageID #: 9




2 of 3                                                                                                 9/18/2020, 12:05 PM
Summary - MyCase                                      https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2...
            Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 3 of 16 PageID #: 10




3 of 3                                                                                                 9/18/2020, 12:05 PM
                                                                         Filed: 8/19/2020 10:04 AM
 Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 4 of 16 PageID
                             49004-2003-CT-023332                             #: 11
                                                                                                                                        Clerk
                                               Marion Superior Court,   Civil Division   4                             Marion County, Indiana



STATE OF INDIANA                     )                            IN     THE MARION SUPERIOR COURT
                                         SS:
COUNTY OF MARION                     g                            CAUSE NO.

JOSE   GOMEZ

        VS.

WESLEY BEACHY and
K AND K TRUCKING, INC.
                                         COMPLAINT FOR DAMAGES
        Comes now the Plaintiff, Jose Gomez, by counsel, Ryan D.                             Etter of Ken Nunn   Law Ofﬁce,
and for his cause 0f action against the Defendants, Wesley Beachy and                              K and K Trucking, Inc.,
alleges and states as follows:


                                   STATEMENT AND JURISDICTION

        1.         This   is   a clear liability collision in which Defendants' 2010 Kenworth tractor and
attached trailerwas negligently driven by Wesley Beachy, causing a chain reaction collision with
the vehicle driven by Plaintiff, Jose Gomez. As a result 0f the collision, Plaintiff has incurred
medical expenses, property damage including, but not limited t0, diminished value, and other
special expenses in an amount to be proven at trial of this cause.
       2.     Jurisdiction and venue are appropriate in Marion County, Indiana, as said collision
occurred Within the boundaries 0f Marion County, State 0f Indiana.



                                          FIRST CAUSE OF ACTION

                                    NEGLIGENCE OF WESLEY BEACHY

        3.         Plaintiffrealleges      and incorporates herein by reference paragraphs               1   through 2 above
as if fully restated verbatim.


        4.         On   0r about     December        5,   20 1 9 Defendant Wesley Beachy negligently drove a
tractor-trailer,   causing a chain reaction collision With a vehicle driven by the plaintiff, Jose Gomez.


        5.   Defendant Wesley Beachy had a duty                            t0 operate his tractor trailer in a safe         and
reasonable manner.


        6.         Defendant Wesley Beachy failed in the above mentioned duties and                              is   therefore
negligent.
                                                                        Filed: 8/19/2020 10:04 AM
Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 5 of 16 PageID
                            49D04-2008-CT-028382                             #: 12
                                                                                                                            Clerk
                                           Marion Superior Court,   Civil Division   4                     Marion County, Indiana




                                          APPEARANCE FORM (CIVIL)
                                                        Initiating Party




              CAUSE NO:

   1.         Name   of ﬁrst   initiating party                Jose     Gomez
                                                               2812 S Pennsylvania Street
                                                               Indianapolis, IN 46225



   2.         Telephone 0f pro se      initiating party        NA

   3.         Attorney information (as applicable              Ryan D.       Etter       #27832-49
              for service   0f process)                        Ken Nunn Law Ofﬁce
                                                               104 South Franklin Road
                                                               Bloomington, IN 47404
                                                               PHONE:                    812 332-9451
                                                               FAX:                      812 331-5321
                                                               Email: ryane@kennunn.com



   4.         Case type requested                              CT     (Civil Tort)



   5.         Will accept   FAX service                        YES

   6.         Are there   related cases                        NO

   7.         Additional information required by
              State or Local Rules



   Continuation 0f Item        1   (Names of initiating        NAME:
   parties)                                                    NAME:

   Continuation of Item 3 (Attorney information
   as applicable for service 0f process)



                                                           s/Ryan D. Etter
                                                          Attorney—at-Law
                                                          (Attorney information            shown above.)
 Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 6 of 16 PageID #: 13


         7.        Defendant Wesley Beachy’s negligence was the direct and proximate cause 0f
Plaintiff s injuries.


         8.        Plaintiff Jose   Gomez’s      injuries   and damages are permanent.


         9.        Plaintiff Jose    Gomez     has incurred medical        bills for the   treatment of his injuries
directly resulting      from   this collision.



          10.      As   a direct and proximate result of Wesley Beachy‘s negligence, Jose                    Gomez   has
experienced physical and mental pain and suffering, property damage including, but not limited
to,   diminished value, and has lost the ability to perform usual             activities, resulting in a     diminished
quality of life.




                                      SECOND CAUSE OF ACTION

                               NEGLIGENCE PER SE OF WESLEY BEACHY

          11.      Plaintiff realleges   and incorporates herein by reference paragraphs                 1   through 10
above as      if fully restated   verbatim.


          12.      Wesley Beachy violated         state   and federal   statutes   and regulations including but not
limited to Title 9 of the Indiana Code.


          13. Defendant Wesley Beachy’s statutory Violations directly and proximately caused
Plaintiffs damages and injuries.


          14.      Defendant Wesley Beachy is negligent per se based on these statutory and regulatory
Violations.


                                       THIRD CAUSE OF ACTION

                     RESPONDEAT SUPERIOR OF K AND K TRUCKING,                                 INC.


          15.      Plaintiff realleges   and incorporates herein by reference paragraphs             1   through 14
above as      if fully restated   verbatim.


          16. Defendant Wesley Beachy was the employee, agent, servant, 0r independent
contractor for K and K Trucking, Inc. Accordingly, K and K Trucking, Inc. is vicariously liable
for the acts 0f Defendant         Wesley Beachy         for the causes 0f action above.


         WHEREFORE, the Plaintiff,               Jose   Gomez, by counsel Ryan D. Etter 0f Ken Nunn Law
Ofﬁce, demands judgment against               the Defendants,   Wesley Beachy and K and K Trucking, Inc.
Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 7 of 16 PageID #: 14


for   permanent    injuries in a reasonable      amount   t0   be determined   at the trial   0f this cause, for
medical expenses, property damage including, but not limited               t0,   diminished value, and other
special expenses, court costs       and   all   other just and proper relief in the premises.


                                           KEN NUNN LAW OFFICE


                                           BY:       s/Ryan D. Etter
                                                     Ryan D. Etter, #27832-49
                                                     KEN NUNN LAW OFFICE
                                                     104 South Franklin Road
                                                     Bloomington, IN 47404
                                                     Phone: (812) 332-9451
                                                     Fax: (812) 33 1-5321
                                                     E-mail:   gane@kennunn£0m

                                REQUEST FOR TRIAL BY JURY

        Comes now the      plaintiff,   by counsel, Ken Nunn Law Ofﬁce, and requests                that this


matter be tried by jury pursuant to Trial Rule 38.


                                           KEN NUNN LAW OFFICE


                                           BY:       s/Ryan D. Etter
                                                     Ryan D. Etter, #27832-49
                                                     KEN NUNN LAW OFFICE
                                                     104 South Franklin Road
                                                     Bloomington, IN 47404
                                                     Phone: (812) 332-9451
                                                     Fax: (812) 33 1-5321
                                                     E-mail:   ganengennunncom


Ryan D.   Etter,   #27832-49
Ken Nunn Law Ofﬁce
104 South Franklin Road
Bloomington, IN 47404
Telephone: 8 12-332-9451
Fax Number:        8 12-33 1-5321
Attorney for Plaintiff
    Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 8 of 16 PageID
                                49004-2003-CT-023382                             #:3/19/2020
                                                                            Filed:  15       10:04 AM
                                                                                                                                                                    Clerk
                                                              Marion Superior Court,    Civil Division   4                                         Marion County, Indiana


                                          CIRCUIT/SUPERIOR COURTS FOR THE                       COUNTY OF MARION
                                                                       STATE OF INDMNA
                                            CITY COUNTY BUILDING, 200 E. WASHINGTON STREET
                                                     INDIANAPOLIS, INDIANA 46204
                                                                 TELEPHONE           3 17   327-4740

Jose   Gomez

                                                  P1aintiff(s)


                           VS.                                                                No.

Wesley Beachy and           K and K Trucking, Inc.
                                                  Defendant(s)
                                                                               SUMMONS
The    State   0f Indiana    t0 Defendant:       Wesley Beachy, 9006 North Meridian Road, Pleasant Lake,                   MI 49272
           You have been         sued by the person(s)        named     "plaintiff“ in the court stated      above.

       The nature of the suit against you is stated in the complaint which                       is   attached t0 this document.   It   also states the
demand which the plaintiff has made and wants from you.

         You must answer the complaint in writing, by you or your attorney, within Twenty (20) days, commencing the day




        —
aﬁer you receive this summons, or judgment Will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.


         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert                            it   in
your written answer.


          8/19/2020                                                                     L/hyk                (L       57:":w3d
Date:
                                                                                   CLERK, MARION CIRCUIT/SUPERIOR COURTS

RYAN D. ETTER, #27832-49
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON,          IN    47404
                                                ACKNOWLEDGMENT OF SERVICE OF SUMMONS
           A copy of the above            summons and       a copy of the complaint attached thereto were received         by me    at
this            day of                      ,
                                                2020.


                                                                                              SIGNATURE OF Dhb bNDANT
PRAECIPE:         I   designate the following           mode of service   to   be used by the Clerk.

XX         By certiﬁed       or registered mail with return receipt to above address.

D          By    Sheriff delivering a        copy of summons and complaint personally t0 defendant or by leaving a copy of the summons
           and complaint         at his   dwelling house or usual place 0f abode with some person 0f suitable age and discretion residing
           therein.


D          By                             delivering a copy of summons and complaint personally to defendant or               by leaving      a   copy 0f the
           summons and complaint              at his dwelling house 0r usual place of abode.


D          By    serving his agent as provided            by rule,   statute 0r valid agreement, to-wit:


                                                                      KEN NUNN LAW OFFICE
                                                                      BY:      s/RYAND. ETTER
                                                                        ATTORNEY FOR PLAINTIFF
                                                                                                                               S EA L
     Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 9 of 16 PageID #: 16

CERTIFICATE OF MAILING:                  I   certify that     0n the   _ day 0f                         ,
                                                                                                            2020,   I   mailed a copy 0f this summons and a copy
0f the complaint t0 each 0f the defendant(s) by (registered 0r certiﬁed mail requesting a return receipt signed by the addressee
only, addressed to each of said defendant(s) at the address(es) furnished by plaintiff.


          Dated    this   _ day 0f                   ,
                                                         2020.



                                                                                                      CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SERVICE OF SUMMONS BY MAIL:                                       Ihereby            certify that service             of summons With return receipt requested
was mailed 0n the      _ day 0f                          2020, and that a copy 0f the return 0f receipt was received by                                   me 0n the
          day 0f                        2020, Which copy          is   attached herewith.




                                                                                                      CLERK, MARION CIRCUIT/SUPERIOR COURTS

CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL:                                                                   I   hereby certify that on the         _ day of
_, 2020, mailed a copy 0f this summons and a copy of the complaint t0 the defendant(s) by (registered 0r certiﬁed) mail, and
          I

the same was returned Without acceptance this day 0f          _     2020, and I did deliver said summons and a copy 0f the
complaint to the Sheriff of MARION County, Indiana.


          Dated    this   _ day 0f                        2020.



                                                                                                      CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SUMMONS:                    This    summons came         to   hand on the            _ day of                     ,
                                                                                                                                2020, and      I   served the same on the      _ day
of        ,
               2020.
          1.           By mailing     a copy 0f the      summons and complaint personally t0                                            address


          2.           By delivering a copy 0f summons and complaint personally t0                                                                                     .




          3.           By leaving a copy 0f the summons and complaint at                                                                               th e dwelling   house 0r
                       usual place 0f abode of defendant:                                                                       (Nam e of Person) and by mailing by ﬁrst
                       class mail a   copy 0f the summons on the              _ day 0f                              ,
                                                                                                                        2020       t0                                      his last
                       known     address.
          4.           By   serving his agent as provided          by rule,    statute or valid             agreement           to-wit:


          5.           Defendant cannot be found in             my bailwick and summons was not served.

          And I now return this        writ this   _ day of                    ,
                                                                                   2020.



                                                                                                      SHERIFF           or      DEPUTY

RETURN ON SERVICE 0F SUMMONS:                                 Ihereby    certify that          I   have served the within summons:


          1.           By delivery 0n the      _ day 0f                            ,
                                                                                           2020 a copy 0f this summons and a copy 0f the complaint t0 each
                       0f the Within named defendant(s)                                                                                                          .




          2.           By leaving on the      _    day of
                                                              a c opy 0f the
                                                                                     2020 for each of the Within named defendant(s)
                                                                                       ,


                                                                                   summons and a copy 0f the complaint at the respective dwelling
                                                          ,



                       house 0r usual place 0f abode with                                                  a p erson 0f suitable age and discretion residing
                       therein   Whose usual     duties 0r activities include                 prompt communication of such information to the person
                       served.
          3.                                                                                                                              an d by mailing a copy 0f the
                       summons Without the complaint t0                                                                                   at

                             the last known address of defendant(s).
          A11 done in     MARION County, Indiana.
Fees: $
                                                                                            SHERIFF     0r   DEPUTY
    Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 10 of 16 PageID
                                49004-2003-CT-023382                        Filed:#: 17 10:04 AM
                                                                                   3/19/2020
                                                                                                                                                                       Clerk
                                                             Marion Superior Court,    Civil Division   4                                             Marion County, Indiana


                                         CIRCUIT/SUPERIOR COURTS FOR THE                       COUNTY OF MARION
                                                                      STATE OF INDMNA
                                           CITY COUNTY BUILDING, 200 E. WASHINGTON STREET
                                                    INDIANAPOLIS, INDIANA 46204
                                                                 TELEPHONE          3 17   327-4740

Jose    Gomez

                                                 P1aintiff(s)


                          VS.                                                                No.

Wesley Beachy and          K and K Trucking, Inc.
                                                 Defendant(s)
                                                                              SUMMONS
The State 0f Indiana t0 Defendant:              K and K Trucking, Inc., c/o Owner Operator Services, Inc., Mark Elrod, 3037 North
550E, Peru, IN 46970

           You have been        sued by the person(s)        named     "plaintiff" in the court stated      above.

       The nature 0f the suit against you is stated in the complaint Which                      is   attached t0 this document.   It   also states the
demand which the plaintiff has made and wants from you.

         You must answer the complaint in writing, by you or your attorney, Within Twenty (20) days, commencing the day
afteryou receive this summons, or judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.


         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert                               it   in
your written answer.


Date:
         8/1   9/2020                                                                           L! Iwwctv            (L   Eta:    ¢
                                                                                                                                      .1?)   a
                                                                                  CLERK, MARION CIRCUIT/SUPERIOR COURTS

RYAN D. ETTER, #27832-49
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON,         IN    47404
                                               ACKNOWLEDGMENT OF SERVICE 0F SUMMONS
          A copy of the above summons and a copy 0f the complaint attached thereto were received by me at
this           day of                      ,
                                               2020.


                                                                                             SIGNATURE OF DEFENDANT
PRAECIPE:        I   designate the following           mode 0f service   to   be used by the Clerk.

XX         By certiﬁed or registered mail              with return receipt to above address.

D          By   Sheriff delivering a        copy 0f summons and complaint personally to defendant or by leaving a copy of the summons
           and complaint        at his   dwelling house or usual place of abode with some person of suitable age and discretion residing
          therein.


D          By                            delivering a copy of summons and complaint personally to defendant 0r               by leaving          a   copy 0f the
           summons and complaint             at his dwelling house 0r usual place 0f abode.


D          By   serving his agent as provided            by rule,   statute or valid agreement, to-wit:


                                                                     KEN NUNN LAW OFFICE
                                                                     BY:      s/RYAND. ETTER
                                                                       ATTORNEY FOR PLAINTIFF
     Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 11 of 16 PageID #: 18

CERTIFICATE OF MAILING:                  I   certify that     0n the   _ day 0f                         ,
                                                                                                            2020,   I   mailed a copy 0f this summons and a copy
0f the complaint t0 each 0f the defendant(s) by (registered 0r certiﬁed mail requesting a return receipt signed by the addressee
only, addressed to each of said defendant(s) at the address(es) furnished by plaintiff.


          Dated    this   _ day 0f                   ,
                                                         2020.



                                                                                                      CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SERVICE OF SUMMONS BY MAIL:                                       Ihereby            certify that service             of summons With return receipt requested
was mailed 0n the      _ day 0f                          2020, and that a copy 0f the return 0f receipt was received by                                   me 0n the
          day 0f                        2020, Which copy          is   attached herewith.




                                                                                                      CLERK, MARION CIRCUIT/SUPERIOR COURTS

CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL:                                                                   I   hereby certify that on the         _ day of
_, 2020, mailed a copy 0f this summons and a copy of the complaint t0 the defendant(s) by (registered 0r certiﬁed) mail, and
          I

the same was returned Without acceptance this day 0f          _     2020, and I did deliver said summons and a copy 0f the
complaint to the Sheriff of MARION County, Indiana.


          Dated    this   _ day 0f                        2020.



                                                                                                      CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SUMMONS:                    This    summons came         to   hand on the            _ day of                     ,
                                                                                                                                2020, and      I   served the same on the      _ day
of        ,
               2020.
          1.           By mailing     a copy 0f the      summons and complaint personally t0                                            address


          2.           By delivering a copy 0f summons and complaint personally t0                                                                                     .




          3.           By leaving a copy 0f the summons and complaint at                                                                               th e dwelling   house 0r
                       usual place 0f abode of defendant:                                                                       (Nam e of Person) and by mailing by ﬁrst
                       class mail a   copy 0f the summons on the              _ day 0f                              ,
                                                                                                                        2020       t0                                      his last
                       known     address.
          4.           By   serving his agent as provided          by rule,    statute or valid             agreement           to-wit:


          5.           Defendant cannot be found in             my bailwick and summons was not served.

          And I now return this        writ this   _ day of                    ,
                                                                                   2020.



                                                                                                      SHERIFF           or      DEPUTY

RETURN ON SERVICE 0F SUMMONS:                                 Ihereby    certify that          I   have served the within summons:


          1.           By delivery 0n the      _ day 0f                            ,
                                                                                           2020 a copy 0f this summons and a copy 0f the complaint t0 each
                       0f the Within named defendant(s)                                                                                                          .




          2.           By leaving on the      _    day of
                                                              a c opy 0f the
                                                                                     2020 for each of the Within named defendant(s)
                                                                                       ,


                                                                                   summons and a copy 0f the complaint at the respective dwelling
                                                          ,



                       house 0r usual place 0f abode with                                                  a p erson 0f suitable age and discretion residing
                       therein   Whose usual     duties 0r activities include                 prompt communication of such information to the person
                       served.
          3.                                                                                                                              an d by mailing a copy 0f the
                       summons Without the complaint t0                                                                                   at

                             the last known address of defendant(s).
          A11 done in     MARION County, Indiana.
Fees: $
                                                                                            SHERIFF     0r   DEPUTY
Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 12 of 16 PageID  #:8/31/2020
                                                                         Filed: 19       3:17 PM
                                                                                                                       Clerk
                                                                                                      Marion County, Indiana




  STATE OF INDLANA                )           IN   THE MARION COUNTY SUPERIOR COURT 4
                                  )   SS:
  COUNTY OF MARION                )           CAUSE NO.          49D04-2008-CT-0283 82

  JOSE GOMEZ,                                            )

                                                         )

        Plaintiff,                                       )

                                                         )

  vs.                                                    )

                                                         )

  WESLEY BEACHY and                                      )

  K AND K TRUCKING, INC,                                 )

                                                         )

        Defendants.                                      )




                                      APPEARANCE FORM (CIVIL)
                                         RESPONDING PARTY

  1.    Please enter   my appearance for:

        WESLEY BEACHY and K AND K TRUCKING, INC.
  2.    Attorney information (as applicable for service of process):


        Name:            Erin A. Clancy                                   Atty.   Number: 21962-49
                         Jordan M. Slusher                                Atty.   Number: 34204-49
        Address:         Kightlinger        & Gray, LLP                   Phone: 3 17/638-4521
                         211 N. Pennsylvania Street                       FAX:     3 17/636-5917
                         Suite   300                                      Computer address:
                         Indianapolis, Indiana           46204            eclancngk-glawcom
                                                                          jslusher@k-glaw.com


  3.    Will responding party accept         FAX service:        Yes           No X

  4.    Additional information required            by   state 0r local rule:


                                                         KIGHTLINGER & GRAY, LLP



                                              By:        /s/Erin A. Clancy
                                                         Erin A. Clancy, I.D. No. 21962-49
                                                         Jordan M. Slusher, I.D. No. 34204-49
                                                         Attorneyfor Defendants, Wesley Beachy and   K and
                                                         K Trucking, Inc.
Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 13 of 16 PageID #: 20




                                    CERTIFICATE OF SERVICE

          hereby certify that on this 31“ day of August, 2020, the foregoing was electronically
            I

  ﬁled with the Marion County Superior Court 4 and was served — through the Court’s E-Filing
  system — on the following:


  Ryan D.       Etter
  KEN NUNN LAW OFFICE


  MW
  104 South Franklin Road
  Bloomington, IN 47404


 Attorneyfor Plaintiﬂ


                                              /s/Erin A. Clancy
                                              Erin A. Clancy
  KIGHTLINGER & GRAY, LLP
  One   Indiana Square, Suite 300
  211 N. Pennsylvania Street
  Indianapolis,        1N 46204
  (3 17) 638-4521
  Eclancngk—glawcom




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Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 14 of 16 PageID  #:8/31/2020
                                                                         Filed: 21       3:17 PM
                                                                                                                                       Clerk
                                                                                                                      Marion County, Indiana




  STATE OF INDIANA                  )         IN   THE MARION COUNTY SUPERIOR COURT 4
                                        SS:
  COUNTY OF MARION                  g         CAUSE NO.            49D04-2008-CT-028382

  JOSE GOMEZ,

         Plaintiff,


  VS.
                                                     vvvvvvvvvv




  WESLEY BEACHY and
  K AND K TRUCKING, INC,
         Defendants.


         DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO RESPOND TO
                            PLAINTIFF’S         COMPLAINT FOR DAMAGES

         Defendants Wesley Beachy and           K and K Trucking, Inc. (“Defendants”), by counsel,
  respectﬁllly   move   the Court for an extension of time 0f 30 days               up   t0   and including October   11,


  2020, in Which t0 ﬁle a responsive pleading t0 Plaintiffs’ Complaint for Damages. In support 0f


  said Motion, Defendants      show     the Court:


         1.       That   Plaintiff’ s   Complaint for Damages was ﬁled With the Court on August                   19,


  2020; thereby making Defendants’ response due no earlier than September 11, 2020.


         2.       Defendants respectfully request an              initial   enlargement of time 0f thirty (30) days


  0r t0 and including October 11, 2020, Within which to answer 0r otherwise respond to Plaintiff s


  Complaint for Damages.

         3.       This request for an enlargement 0f time              is   not   made   for the purposes of delay, but


  rather t0 allow time for Defendants’ counsel t0 prepare a proper response t0 Plaintiff s


  Complaint for Damages.

         4.       Counsel for Defendants contacted counsel for Plaintiff Who has advised he has no

  objection to the ﬁling 0f this Motion.
Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 15 of 16 PageID #: 22




           WHEREFORE, Defendants Wesley Beachy and K and K Trucking,               Inc.,   pray that the

  time for ﬁling a responsive pleading to the Plaintiffs Complaint for   Damages be extended         for a


  period of thirty (30) days, up t0 and including October 11, 2020 and for   all   other just and proper


  relief in the premises.


                                               KIGHTLINGER & GRAY, LLP


                                       By:     /s/Erz'n A.   Clancy
                                               Erin A. Clancy, I.D. No. 21962—49
                                               Jordan M. Slusher, I.D. No. 34204-49
                                               Attorneyfor Defendants, Wesley Beachy and            K and
                                               K Trucking, Inc.

                                    CERTIFICATE 0F SERVICE

          hereby certify that on this 31“ day of August, 2020, the foregoing was electronically
           I

  ﬁled with the Marion County Superior Court 4 and was served — through the Court’s E-Filing
  system — on the following:


  Ryan D.      Etter
  KEN NUNN LAW OFFICE


  WW
  104 South Franklin Road
  Bloomington, IN 47404


 Attorneyfor Plaintiff


                                               /s/Erin A. Clancy
                                               Erin A. Clancy
  KIGHTLINGER & GRAY, LLP
  One   Indiana Square, Suite 300
  211 N. Pennsylvania Street
  Indianapolis,       IN 46204
  (317) 638—4521
  Eclanc    k— 1aw.com




  200658\60488765-1
Case 1:20-cv-02422-JPH-DML Document 1-2 Filed 09/18/20 Page 16 of 16 PageID #:F23I                                           LED
                                                                                                                        September 1, 2020
                                                                                                                   CLERK OF THE COURT
                                                                                                                     MARION COUNTY
                                                                                                                                 CF

  STATE OF INDLANA                     )         IN   THE MARION COUNTY SUPERIOR COURT 4
                                           SS:
  COUNTY OF MARION                     g         CAUSE NO.              49D04-2008-CT-0283 82

  JOSE GOMEZ,

            Plaintiff,


  VS.
                                                          vvvvvvvvvv




  WESLEY BEACHY and
  K AND K TRUCKING, INC,
            Defendants.


                                       ORDER ON EXTENSION OF TIME
            This cause came before the Court upon the Motion of the Defendants for a Motion for


  Extension of Time to respond to Plaintiff s Complaint for Damages.


            The Court, having considered         said   Motion and, being duly advised         in the premises,   now

  GRANTS the           same, and


            THEREFORE,         IT IS   ORDERED that the Defendants Wesley Beachy and K and K

  Trucking,     Inc.,   may have   an extension of time of thirty (30) days, up to and including October


  11,   2020, within Which to answer or otherwise plead t0 Plaintiff” s Complaint for Damages.

              August 31, 2020
  DATED:
                                                                         Judge, Marion County Superior Court 41


  Distribution to:


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